555 F.2d 136
    77-1 USTC  P 16,263
    UNITED STATES of America, Plaintiff-Appellee,v.Michael T. O'BRIEN, Defendant-Appellant.
    No. 1083, Docket 77-1069.
    United States Court of Appeals,Second Circuit.
    Argued April 22, 1977.Decided May 12, 1977.
    
      William J. Dolan, Joseph E. Fazzano, Hartford, Conn., of counsel, for defendant-appellant.
      Peter R. Casey, II, Sp. Atty., U. S. Dept. of Justice (Peter C. Dorsey, U. S. Atty. for the District of Connecticut, New Haven, Conn., of counsel), for plaintiff-appellee.
      Before WATERMAN, SMITH and FEINBERG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Michael T. O'Brien appeals from a judgment of the United States District Court for the District of Connecticut, M. Joseph Blumenfeld, Judge, following entry of a plea of nolo contendere to charges of violating the federal wagering tax statutes, 26 U.S.C. § 4401 et seq., and 26 U.S.C. § 7203, by failing to pay the special occupational tax imposed under the statutes.  Before appellant entered the plea, he moved to dismiss the information on the ground that the statutory scheme of Chapter 35 of the Internal Revenue Code compels disclosure of incriminating information in violation of the fifth amendment right against self-incrimination.  O'Brien now appeals from the denial of this motion to dismiss the information on the basis of his facial challenge to the constitutionality of 26 U.S.C. § 4401 et seq.
    
    
      2
      An identical challenge was recently rejected by this court.  United States v. Sahadi, 555 F.2d 23 (2 Cir. 1977).  On the basis of the opinion in Sahadi, we affirm.
    
    